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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SECURITIES AND EXCHANGE
 COMMISSION,

               Plaintiff,                 23-cv-1346 (JSR)

      -v-                                 OPINION AND ORDER

 TERRAFORM LABS PTE. LTD. and
 DO HYEONG KWON,

               Defendants.

JED S. RAKOFF, U.S.D.J.:

     In this case, the Securities and Exchange Commission (“SEC”)

alleges that the defendants -- Terraform Labs Pte. Ltd., a “crypto-

assets” company, and its founder, Do Hyeong Kwon –- orchestrated

a multi-billion-dollar fraud involving the development, marketing,

and sale of various cryptocurrencies. The SEC’s claims, all brought

under the federal securities laws, include a claim that defendants

offered and sold unregistered securities, claims that defendants

offered and effected transactions in unregistered security-based

swaps, and claims that defendants engaged in fraudulent schemes to

lead investors astray. One of the alleged fraudulent schemes is

that defendants misrepresented that one of Terraform’s crypto

asset securities, UST, was permanently pegged to a $1.00 price

through   an    automatic    self-stabilizing   algorithm,   rather    than

through the intervention of a third-party trading firm with whom

defendants struck a secret deal. Another of the alleged fraudulent


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schemes is that defendants falsely stated that a Korean mobile

payment    application,    Chai,    used    the    Terraform     blockchain    to

process and settle transactions in cryptocurrencies, a lie that

defendants concealed by replicating purported Chai transactions on

a Terraform server.

     In support of its fraud claims, the SEC offers two expert

witnesses: Dr. Bruce Mizrach and Dr. Matthew Edman. In response,

defendants offer three expert witnesses of their own: Dr. Terrence

Hendershott (as rebuttal to Dr. Mizrach), Mr. Raj Unny (as rebuttal

to Dr. Edman), and Dr. Christine Parlour. Each side moved under

Federal Rule of Evidence 702 to exclude the other side’s experts,

and the Court, after receiving full briefing, held a “Daubert”

hearing    on   those   motions    on   November   17,   2023,    at   which   it

questioned all five putative experts. On November 20, 2023, the

Court issued a “bottom-line” order denying defendants’ motions to

exclude the testimony of Dr. Mizrach and Dr. Edman, denying the

SEC’s motion to exclude the testimony of Dr. Hendershott, and

granting the SEC’s motions to exclude the testimony of Mr. Unny

and Dr. Parlour. Below, the Court explains the reasons for those

rulings.

     In addition, this Opinion and Order disposes of the parties’

cross-motions for summary judgment, on which the Court received

full briefing and held oral argument on November 30, 2023. As the

Court explains below, the Court grants summary judgment for the


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SEC on the claim that defendants offered and sold unregistered

securities. The Court grants summary judgment for defendants on

the      claims   involving   offering       and   effecting   transactions    in

security-based       swaps.   Finally,       the   Court   denies’   both   sides’

cross-motions for summary judgment on the fraud claims.

    I.     Factual and Procedural Background

         Defendant Do Hyeong Kwon, along with an individual named

Daniel Shin, founded Terraform Labs Pte. Ltd. (“Terraform”) in

April 2018. ECF No. 124 (“Defs.’ Response to SEC 56.1”), at ¶¶ 1-

2. 1 In April 2019, Terraform and Kwon launched and promoted the

Terraform blockchain, which would record and display transactions

of cryptocurrency tokens, or crypto assets, across computers in a

linked network. Id. ¶ 25; ECF No. 126 (“SEC Resp. to Defs.’ 56.1”),

at ¶¶ 10-13.

         A. LUNA and wLUNA

         Terraform coded into the blockchain at launch one billion

tokens of a particular crypto asset, LUNA, that it created. 2 Defs.’

Response to SEC 56.1 ¶ 25. Beginning even before the blockchain




1 Citations to a particular paragraph in either side’s response to
the other side’s Local Rule 56.1 statement of facts include the
content of both the initial Local Rule 56.1 statement and the
response.

2 In December 2020, Terraform launched a platform allowing LUNA
holders to create a “wrapped” version of LUNA, named wLUNA, that
could be traded on non-Terraform blockchains but was otherwise
identical to LUNA. Defs.’ Response to SEC 56.1 ¶ 42.


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was developed, Terraform entered agreements to sell LUNA to buyers

in exchange for both fiat currency and other crypto assets, such

as Bitcoin. Id. ¶¶ 51, 117; e.g., ECF No. 73, Ex. 26 (July 11,

2018 token sale agreement for an institutional investor to purchase

LUNA tokens from Terraform for $3,000,000 worth of Bitcoin). The

terms of those agreements referred to an “Initial Token Launch,”

which was defined as “the online sale and/or distribution of Tokens

by the Vendor [Terraform or its subsidiary Terraform BVI] to the

general public in a campaign to be initiated and conducted by the

Vendor.” Defs.’ Response to SEC 56.1 ¶ 118.

     The agreements further contemplated that “Terraform would

undertake efforts to generate a secondary trading market for the

LUNA tokens.” Id. The terms of the sales provided incentives for

the purchasers to resell LUNA tokens by, for example, setting the

purchase price at discounts of 40% or more from expected market

prices. Id. ¶ 119. In a fundraising update in December 2018,

Terraform co-founder Daniel Shin wrote that Terraform had “begun

exchange listing discussions given token listing is a precondition

for Terra/Luna ecosystem to operate.” Id. ¶ 121. Terraform used

proceeds from selling LUNA to, in part, fund Terraform’s operating

costs. Id. ¶ 56.

     In November 2019 and September 2020, Kwon negotiated and

signed, on behalf of Terraform, agreements with a U.S. crypto asset

trading firm, Jump Crypto Holdings LLC (“Jump”), to receive loans


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of 30 million and 65 million LUNA tokens, respectively. Id. ¶¶

124, 130. In a January 13, 2020 email to “Terra’s leading investor

group,” Kwon announced that Terraform had “agreed to enter a

partnership      with    Jump,”    in    which    Jump     would      “deploy     its    own

resources to improve liquidity of Terra and Luna.” Id. ¶ 126. Kwon

stated   that,     until    then,       LUNA’s    liquidity        had    been    “rather

lackluster partly due to our team’s inexperience with secondary

markets & trading operations.” Id. Kwon further explained that

Terraform’s loan of LUNA tokens to Jump was “with the expectation

that they are going to fill bids and offers to improve liquidity

of   LUNA   in    secondary       trading       markets.”       Id.    Moreover,        Kwon

acknowledged      that     Jump    later        provided       periodic    reports       to

Terraform of its trading on various crypto asset trading platforms.

Id. The second loan agreement, in September 2020, came about

because a Jump executive emailed Kwon a proposal to obtain tens of

millions    of   additional       LUNA    tokens    at     a   discounted        price   to

“thicken up LUNA markets further.” Id. ¶ 129.

     In a Tweet on April 7, 2021, Kwon wrote: “A bet on the moon

[LUNA] is very simple: it goes up in value (inc. scarcity) the

more Terra money is used; it goes down in value (inc. dilution)

the less Terra money is used. The moon’s fate in the long run is

tied to how widely the money gets used and transacted.” ECF No.

75, Ex. 105. In another post that day, Kwon wrote: “But in the

long run, $Luna value is actionable –- it grows as the [Terraform]


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ecosystem grows. As a holder of the [moon], you then have three

choices: Sit back and watch me kick ass; Take profits and buy un-

valuable assets; Or you can roll up your sleeves and build cool

shit.” Id., Ex. 108. Around the same time, SJ Park, Director of

Special Projects at Terraform, stated in a videotaped presentation

that “[o]wning LUNA is essentially owning a stake in the network

and a bet that value will continue to accrue over time.” Defs.’

Response to SEC 56.1 ¶ 63. In a public interview, Jeff Kuan,

business    development     lead   at    Terraform,       explained   that   “VCs

investing in Terra means they’re buying LUNA, which is the ‘equity’

in our co.” Id. The price of LUNA increased from under $1.00 in

January    2021   to   a   high   of   over   $119   in    April   2022,   before

plummeting to under a penny in May 2022. ECF No. 175, Ex. 125.

     B. UST and the Anchor Protocol

     In December 2019, Terraform created another crypto asset

called UST, which it described as a “stablecoin” whose value was

permanently and algorithmically pegged to one U.S. dollar. Defs.’

Response to SEC 56.1 ¶¶ 21–24. As part of the algorithm, one UST

could always be exchanged for $1 worth of LUNA, and $1 worth of

LUNA could always be exchanged for one UST. Id. ¶ 23. In March

2021, Terraform launched “the Anchor Protocol,” which it described

as a key component of “the Terra money market,” allowing UST

holders to earn interest payments by depositing their tokens in a

shared pool from which others could borrow UST. ECF No. 73, Ex. 44


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at 2; id., Ex. 67. Terraform publicly announced, in a Tweet by

Kwon, that “Anchor will target 20% fixed APR,” which was “by far

the highest stablecoin yield in the market.” Id., Ex. 66. A June

2020 white paper described the Anchor Protocol as “an attempt to

give the main street investor a single, reliable, rate of return

across all blockchains.” Id., Ex. 44 at 2.

     Returns from the Anchor Protocol were paid out in proportion

to the amount of UST a person or entity had deposited. Defs.’

Response to SEC 56.1 ¶ 80. The Anchor Protocol website stated that

“[d]eposited stablecoins are pooled and lent out to borrowers,

with accrued interest pro-rata distributed to all depositors.” Id.

By May 2022, there were approximately 18.5 billion tokens of UST,

14 billion of which had been deposited in the Anchor Protocol. Id.

¶ 36.

     C. MIR, the Mirror Protocol, and mAssets

     In December 2020, Terraform launched “the Mirror Protocol.”

Id. ¶ 38. The Mirror Protocol allowed users to obtain “mAssets” -

- tokens whose value would “mirror” the price of a pre-existing

non-crypto asset, such as a publicly traded security. Id. ¶ 39. A

Mirror Protocol user could mint an mAsset by depositing collateral

of 150% or more of the value of the underlying security (the

“reference stock”). Id. ¶ 113. The holder of the mAsset would thus

hold the value of the deposit without holding the underlying

reference stock or its attendant ownership interests. There was a


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catch, however. Whenever the price of the underlying reference

stock rose above the holder’s initial buy-in, the holder would

need to deposit additional collateral to maintain the mAsset. Id.

¶ 114. In other words, there is no evidence that suggests, and the

SEC does not contend, that an mAsset would lead to profit for its

holders or that any holders expected as much.

     The same was not true, however, for the Mirror Protocol’s

governance      token,   MIR.   MIR’s   value    was    based   on   the   Mirror

Protocol’s usage. Id. ¶ 38. A Terraform subsidiary sold MIR tokens

directly   to    purchasers     through     “Simple    Agreements    for   Farmed

Tokens,” or SAFTs. Id. ¶ 135. Those agreements did not restrict

purchasers from reselling their MIR tokens in secondary trading

markets or to U.S. investors. Id. ¶ 136. Terraform also loaned as

many as 4 million MIR tokens to Jump, in an agreement that

expressly required Jump to trade MIR tokens on crypto asset trading

platforms and to provide Terraform with reports of its trading.

Id. ¶ 138. Terraform also sold LUNA and MIR tokens to secondary

market purchasers on Binance and other crypto trading exchanges.

Id. ¶ 142. The record provides no evidence that Terraform took

steps to determine whether those trading platforms were available

to U.S. investors. Id. ¶ 143.

     In September 2020, Kwon emailed promotional materials to a

potential purchaser, including a set of slides that described MIR

as “a farmable governance token that earns fees from asset trades.”


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Id. ¶ 101. Another slide proclaimed that the “Mirror token will

accrue value from network fees and governance” and stated that MIR

token holders could receive “trading fee revenues.” Id. Kwon even

included in those materials a spreadsheet with a revenue projection

table, estimating how the price of MIR would increase in tandem

with greater usage of the Mirror Protocol. Id.; ECF No. 75, Ex.

148. In a June 2021 presentation, SJ Park, Terraform’s Director of

Special Projects, stated that the Mirror Protocol had “grown to

two billion [dollars] in total value locked and a billion [dollars]

in liquidity.” Defs.’ Response to SEC 56.1 ¶ 110.

     D. Chai’s Use of the Terraform Blockchain

     In mid-2019, Terraform’s co-founder Daniel Shin developed

Chai, a Korean mobile payment application. Id. ¶¶ 150-51. Terraform

and Chai were closely associated until early 2020, including

sharing office space and overlapping personnel. Id. ¶ 153. In a

July 26, 2019 Terraform “Community Update,” Kwon wrote that “Chai

launched using the Terra Protocol, and . . . already it is one of

the most heavily used blockchain applications in existence.” Id.

¶ 168. In a February 9, 2020 Terraform chat message available to

the public, Kwon stated that “Chai has 12 merchants, all of whom

get settled in KRT [a crypto asset pegged to the Korean fiat

currency, the won] on the Terraform blockchain.” Id. ¶ 173. In an

April 16, 2021 interview, Kwon stated that by paying “merchants

directly in stablecoin, we’re able to cut down settlement times


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from seven days to six seconds, which [is] the average block time

of the entire blockchain.” Id. ¶ 181. In another public interview,

on March 31, 2022, Kwon added that “the idea was that we could,

you know, bootstrap a large network of merchants and users that

are willing to transact using Terra.” Id. ¶ 182.

     According to the SEC, however, the above statements were

misrepresentations    because     Chai   never    used    the   Terraform

blockchain to process transactions. In a May 26, 2020 email, a

Chai employee explained that Chai would “process transaction[s]

outside [the] blockchain” and then “write a record on the Terra

blockchain in parallel.” Id. ¶ 185. In a May 9, 2019 message, Kwon

told Shin that he would “do fake transactions on the mainnet to

generate staking returns of SDT,” another Terraform crypto asset.

Id. ¶ 187. Kwon added, “[I] can just create fake transactions that

look real which will generate fees and we can wind down as chai

grows.” Id. When asked by Shin whether people would learn that the

transactions were fake, Kwon responded, “All power to those that

can prove it[’]s fake because I will try my best to make it

indiscernable.” Id.

     Shortly thereafter, Terraform developed what became known as

the “LP Server.” Id. ¶ 188. On October 9, 2020, a Terraform

engineer messaged another Terraform employee, Paul Kim, to ask,

“can you quickly explain me what’s the role of the lp-server?” Id.

¶ 200. Kim responded, “lp-server creates multisend transactions by


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receiving transaction information from Chai,” adding, “[i]n short:

it basically replicates chai transactions.” Id. Jihoon Kim, a

former Terraform employee who had left to join Chai as lead

engineer for its e-wallet and card business, told Chai’s Chief

Product Officer –- an SEC whistleblower in this case -- that

“there’s no crypto going on within Chai.” Id. ¶ 186. When that

whistleblower confronted Kwon in September 2021 about the fact

that Chai did not really use the Terraform blockchain, Kwon did

not deny the allegation but stated merely that he did not “give a

fuck about Chai.” Id. ¶ 183.

     E. UST’s May 2021 Depeg

     On May 19, 2021, UST’s price fell below $1. Id. ¶ 209. On May

23, 2021, it dropped to around $0.90. Id. That same day, Kwon had

multiple communications with a Jump executive. Id. ¶ 210. When

asked    about   those   communications     at   a   deposition,   that    Jump

executive –- as well as another -- invoked the Fifth Amendment and

refused to answer. Id. ¶ 211. The SEC asserts that Terraform

reached a deal with Jump to take action to restore UST’s $1 peg,

and that, in return, Jump would no longer be required to achieve

vesting conditions to receive additional LUNA tokens under earlier

agreements. Id. On the day in question, May 23, 2021, a different

Jump executive told employees, “I spoke to Do [Kwon] and he’s going

to vest us.” Id. ¶ 214. The same day, Kwon told Terraform’s head

of business development that he was “speaking to jump about a


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solution.” Id. ¶ 217. Terraform’s head of communications, Brian

Curran, took notes at a division head meeting that day, writing

that Kwon announced that the “[p]eg had to be defended” and that

“Jump was deploying $100 million to buyback UST.” Id. ¶¶ 217-18.

Indeed, Jump purchased large amounts of UST in bursts that day,

and UST’s market price was eventually restored to near $1.00. Id.

¶¶ 214-15. Later that year, Kwon told Curran that if Jump had not

stepped in, Terraform “actually might’ve been fucked.” Id. ¶ 219.

Another Terraform employee added that “they [Jump] saved our ass.”

Id.

      On May 24, 2021, after UST’s price had largely recovered,

Terraform published dozens of Tweets describing the benefits of

“algorithmic, calibrated adjustments of economic parameters” as

compared to the “stress-induced decision-making of human agents in

[a] time of market volatility.” Id. ¶ 222. Terraform referred to

UST’s $1 peg as the “lynchpin for the entire [Terra] ecosystem”

and described the depeg and repeg as a “black swan” event that was

“as intense of a stress test in live conditions as can ever be

expected.” Id. In a June 2021 Terraform Community Update, Terraform

stated   that        “[i]ndustry-wide        volatility    stress-tested     the

stability mechanism of the Terra protocol.” Id. ¶ 223.

      Kwon discussed the depeg again in a May 2022 talk show

appearance,     at    which   he   pronounced    that     the   UST   algorithmic

“protocol automatically self-heals the exchanged rate” and that


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“it took a few days for the slippage cost to naturally heal back

to spot.” Id. ¶ 224. Later that same month, however, Terraform’s

crypto assets lost nearly all of their value –- according to the

SEC, more than $45 billion -- and have not recovered. Id. ¶ 49.

     F. Procedural History

     The SEC filed this action against Terraform and Kwon on

February 16, 2023 and filed an Amended Complaint on April 3, 2023.

See ECF Nos. 1, 25. The Amended Complaint contains six claims for

relief: fraud in the offer or sale of securities in violation of

Section 17(a) of the Securities Act (Count I); fraud in connection

with the purchase or sale of securities in violation of Section

10(b) of the Exchange Act and accompanying Rule 10b-5 (Count II);

control person liability against Kwon under Section 20(a) of the

Exchange Act, for the Section 10(b) violation (Count III); offering

and selling unregistered securities in violation of Sections 5(a)

and 5(c) of the Securities Act (Count IV); offering unregistered

security-based   swaps   to   non-eligible   contract   participants    in

violation of Section 5(e) of the Securities Act (Count V); and

effecting transactions in unregistered security-based swaps with

non-eligible contract participants in violation of Section 6(l) of

the Exchange Act (Count VI).

     Defendants timely moved to dismiss the Amended Complaint on

a smattering of grounds, including, among others, the argument

that none of the crypto assets at issue is a security. See ECF No.


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29. After full briefing and oral argument, the Court denied the

motion to dismiss. See ECF No. 51. Discovery closed on October 27,

2023. See ECF No. 44. Each side moved under Rule 702 to exclude

the expert witnesses of the other, and after full briefing, the

Court heard oral argument on those motions on November 17, 2023.

On November 20, 2023, the Court issued a “bottom-line” order

granting the motions to exclude two of defendants’ three experts,

but denying the motions to exclude defendants’ other expert and

the SEC’s two experts. See ECF No. 130. This Opinion and Order

first explains the reasons for those Rule 702 rulings, and then

goes on to resolve the parties’ cross-motions for summary judgment,

on which the Court heard oral argument on November 30, 2023 after

full briefing.

    II.   Motions to Exclude Expert Testimony

      The SEC offers two expert witnesses, economist Dr. Bruce

Mizrach and computer scientist Dr. Matthew Edman, in support of

the   fraud   claims.   Defendants    offer   three   expert    witnesses:

economist Dr. Terrence Hendershott, as a rebuttal witness to Dr.

Edman; software developer Mr. Raj Unny, as a rebuttal witness to

Dr. Edman; and economist Dr. Christine Parlour. 3 Rule 702 of the


3 Importantly, neither side relies on its experts in connection
with the motions for summary judgment. However, because the Court
denies both sides’ motions for summary judgment on the fraud
claims, the Court’s resolution of the Rule 702 motions will affect
what can be offered as expert testimony at the forthcoming trial
of those claims.


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Federal     Rules   of   Evidence   provides    that:     “A   witness   who   is

qualified as an expert by knowledge, skill, experience, training,

or education may testify in the form of an opinion or otherwise if

the proponent demonstrates to the court that it is more likely

than not that: (a) the expert’s scientific, technical, or other

specialized knowledge will help the trier of fact to understand

the evidence or to determine a fact in issue; (b) the testimony is

based on sufficient facts or data; (c) the testimony is the product

of reliable principles and methods; and (d) the expert’s opinion

reflects a reliable application of the principles and methods to

the facts of the case.” Fed. R. Evid. 702. 4 The Court must thus

make   “a   preliminary     assessment     of   whether    the   reasoning     or

methodology underlying the testimony is scientifically valid and

of whether that reasoning or methodology properly can be applied

to the facts in issue.” Daubert v. Merrell Dow Pharms., Inc., 509

U.S. 579, 592–93 (1993); see Kumho Tire Co. v. Carmichael, 526

U.S. 137, 147 (1999) (extending Daubert to non-scientific expert

testimony).

       A. Dr. Bruce Mizrach

       The Court denies defendants’ motion to exclude Dr. Bruce

Mizrach’s testimony. Dr. Mizrach is a professor of economics at




4 The quoted language includes some small changes that took effect
on December 1, 2023, but the Court’s decision would be identical
under both the old and the new versions.


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Rutgers University, where he has taught since 1995. ECF No. 93-2

(“Mizrach Rep.”), at ¶ 1.1. Dr. Mizrach has a Ph.D. in economics

from the University of Pennsylvania and has also taught at Boston

College, the Stern School of Business at NYU, and the Wharton

School   at   the   University   of    Pennsylvania.   Id.   Dr.   Mizrach

specializes “in market microstructure,” or “the trading mechanisms

of financial markets.” Id. Subject to challenge by defendants is

Dr. Mizrach’s conclusion that third-party trading firm Jump played

a role in restoring the price of UST to $1.00 after the May 2021

depeg.

     Dr. Mizrach’s analysis is based on a variant of an economic

model developed and elaborated by Joel Hasbrouck in a 1991 article,

“Measuring the information content of stock trades,” in The Journal

of Finance. Hasbrouck’s model has proved highly influential and

has been cited in more than 2,000 later publications, including in

multiple papers of defendants’ expert Dr. Hendershott. See ECF No.

93-3 (“Mizrach Rebuttal Rep.”), at 14 n.40. All parties agree on

the soundness of Hasbrouck’s work.

     Defendants nevertheless argue that Dr. Mizrach’s analysis is

methodologically flawed because Hasbrouck’s model “was designed to

measure the information content of asset trades, not whether the

asset price would have moved more or less if the trading being

studied had not occurred.” ECF No. 96 (“Mem. against Mizrach”), at

4. Defendants concede that “Hasbrouck’s methodology can be used to


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study what price changes [Jump’s] May 23, 2021 trading might have

predicted,”       but    contend   that   the   model    “cannot   be   used”   “to

determine what prices that trading caused.” Id.

      But   in     the     instant   context,     this    distinction     between

“predicted” and “caused” is largely semantic and immaterial. Dr.

Mizrach’s report explains that his model “measure[s] the impact of

one additional buy or sell purchase on [UST’s] market price.”

Mizrach Rep., Appendix 1. Because the model “takes into account

all the other factors that might be influencing the price,” it

“enables [one] to isolate the impact of Jump’s trading from other

factors.” Id. And although defendants argue that the model fails

to account for the trading of firms other than Jump, Dr. Mizrach

explained in his deposition that the model captures such trades by

reflecting them in “the mid-quote,” or the price of UST in between

two Jump trades. Mizrach Dep. 94:16–21. Moreover, Dr. Mizrach also

looked at “certain critical junctures” in which “Jump was the only

buyer.” Mizrach Rebuttal Rep. at 5.

      The SEC also points out that in another case, defendants’

rebuttal expert Dr. Hendershott (who, as elaborated below, the

Court has not excluded) himself relied on two papers by Dr. Mizrach

to use a similar model in coming to similarly causal conclusions.

See   ECF   No.    112    (“SEC    Opp.   for   Mizrach”),    at   10–11.   In   a

declaration for that other case, Dr. Hendershott wrote that the

model “shows that the orders like those from the Layering Algorithm


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significantly impact the price of the E-mini contract.” Id. at 10

(emphasis    omitted). 5    Stated    differently,       as    Dr.    Hendershott

explained in that declaration, the model showed that a particular

algorithm “caused prices to decline.” Id. Rather than attempt to

explain     in   briefing     the    apparent    discrepancy         between   Dr.

Hendershott’s      prior    work    and    defendants’    criticisms      of   Dr.

Mizrach’s analysis in this case, defendants replied that Dr.

Hendershott could provide the explanation in person. ECF No. 113

(“Reply against Mizrach”), at 4. Dr. Hendershott may have a chance

to do so at trial, but in connection with the Rule 702 motions, he

chose not to do so.

      To be sure, defendants also advance other alleged flaws in

Dr. Mizrach’s analysis that Dr. Hendershott, as a rebuttal expert,

does describe in his report. For instance, Dr. Mizrach, according

to defendants, neither differentiated “between the types of trades

that [Jump] appeared to have engaged in for arbitrage or other

non-directional trading strategies and potential ‘interventional’

or   directional    trades,    nor   explained    why    the    non-directional

strategies should be included in the analysis of [Jump’s] supposed

trading impact.” 6 Mem. against Mizrach at 7. Similarly, defendants


5  Here and elsewhere, internal alterations, citations, and
quotation marks have been omitted unless otherwise indicated.

6“Directional trading refers to strategies based on the investor’s
view of the future direction of the market.” Investopedia,
Directional Trading: Overview, Example, Types (May 23, 2022). By


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note that Dr. Mizrach did not differentiate between active and

passive trading or otherwise categorize Jump’s trading beyond

“buy” or “sell.” Id. at 7–9. But these arguments are red herrings.

The   specific    nature     of    Jump’s     trading   is   immaterial   to   Dr.

Mizrach’s analysis, which analyzed whether Jump’s trading, in any

form and in its entirety, played a role in restoring UST’s $1 price

in May 2021. Indeed, defendants and Dr. Hendershott do not refute

that any of Jump’s trading -- including passive buys -- could

affect UST’s price.

      Defendants      also   criticize       Dr.   Mizrach’s   model   for   using

average trade sizes to calculate price impact, rather than “using

[Jump’s] actual trade data.” Mem. against Mizrach at 9. That

criticism misapprehends the nature of the model. By leaving volume

out of his model, as Hasbrouck also does, Dr. Mizrach assessed

price impact as “the weighted average across all the trade size

groups (i.e. an average size trade).” Mizrach Rebuttal Rep. at 14.

Again, Dr. Mizrach’s objective was to assess the role of all of

Jump’s trading on UST’s price in May 2021, not to determine the

differences      in   effect      of   the    volume    of   particular   trades.

Defendants do not explain why the lack of actual trading volume in

Dr. Mizrach’s model makes it unreliable or inaccurate. Indeed, for



contrast, non-directional trading strategies -- such as purchasing
both a call and put option of the same asset –- can allow an
investor to profit regardless of the future direction of the
market.


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his rebuttal report to Dr. Hendershott, Dr. Mizrach conducted a

sensitivity analysis to compare the price impact across four

different groups of Jump trading volumes “and compute an average

weighted by the frequency of each trade size group.” Id. The result

was a set of figures that were “less than one cent different” from

the estimates in his initial report, a statistically insignificant

difference. Id. at 14 & n.41.

     Defendants assert that Dr. Mizrach “did not conduct a sanity

check” of his model “against the real-world data.” Mem. against

Mizrach at 11. For instance, the model predicts that, in response

to sufficient panic in the UST market, UST’s trading price would

have been negative -- a clear impossibility. But, as the SEC

explains, “[s]uch predictions are common in economic modeling and

require   the    application   of    logic     by    the    economist    and    the

recognition that selling would stop once the price hit zero.” SEC

Mizrach Opp. at 18. Similarly, defendants note that Dr. Mizrach’s

model shows Jump’s trading to have increased UST’s price by $0.62

over a particular half-hour period, when the actual price increased

by just $0.03. In defendants’ telling, such a difference shows

“the utter lack of reliability of Prof. Mizrach’s model.” Mem.

against Mizrach at 13. But a price can be pulled in different

directions      from   different    sources.        Dr.    Mizrach’s    model   is

perfectly consistent with the explanation, which he advances, that

in the absence of Jump’s trading during that period, the price


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would have been $0.62 lower than it was. In other words, had Jump

not made its trades during that period, UST’s price would have

declined by $0.59 rather than increase by $0.03, as it did.

      Finally, defendants urge the Court to exclude any opinions by

Dr. Mizrach about UST’s later price crash in 2022. But there are

no such opinions to exclude. The SEC and Dr. Mizrach are clear

that his opinions are only about the May 2021 depeg, not events in

2022.     SEC   Mizrach     Opp.      at   19–20.   The    Court   accepts    that

representation.

      At bottom, some of defendants’ criticisms are immaterial, and

some are legitimate differences of opinion between two bona fide

experts. None, however, is a reason to jettison Dr. Mizrach’s

testimony.

      B. Dr. Matthew Edman

      The SEC’s other expert, Dr. Matthew Edman, is a computer

scientist who founded a cybersecurity and investigations firm that

specializes in cryptocurrency, cybersecurity, and digital forensic

investigations. ECF No. 87-2 (“Edman Rep.”), at ¶¶ 2–3. Dr. Edman

has     authored    multiple       peer-reviewed      research     papers    about

“techniques     for    cryptographic       security   and    authentication    in

wireless networks.” Id. ¶ 3. After reviewing the source code of

Terraform’s “LP Server,” Dr. Edman concluded that the “primary

functionality”        of   the   LP    Server   software    “was   to   replicate

purported Chai user and merchant transactions onto the Terra


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blockchain.” Id. ¶ 11. Moreover, his review revealed, “[t]he

purported Chai user transactions occurred within a ‘closed system’

of Terra blockchain wallet addresses, and so the purported Chai

transactions on the Terra blockchain represented transfers between

wallet addresses controlled by Terraform Labs rather than the

processing and settlement of Chai transactions between Chai users

and merchants.” Id. The Court denies defendants’ motion to exclude

Dr. Edman’s testimony.

     Defendants’      threshold    argument    is     that   Dr.   Edman    “lacks

sufficient     expertise    in   financial    payment    systems     or    payment

processes.” ECF No. 97 (“Mem. against Edman”), at 8. But Dr. Edman

does not purport to hold such expertise, nor do his conclusions

require it of him. Dr. Edman is a computer scientist who draws

conclusions about the Terraform blockchain by examining the source

code of a server and its programming. Such analysis and conclusions

are well within Dr. Edman’s bailiwick. There is no indication that

the features of or methods for analyzing source code differ when

a financial payment system is involved.

     Defendants next contend that Dr. Edman failed to consider

sufficient data because he did not “examine each component of the

Chai payment system, its data or logs, and the data that was input

into the LP Server that resulted in the blockchain transactions.”

Id. at   11.    The   rub   is   that   Dr.   Edman    did   not   “have   enough

information to say for certain whether or not the underlying


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transactions were real.” Id. (quoting Edman Dep. 139:25–140:04).

But all that meant was that Dr. Edman could not say whether the

purported Chai transactions replicated on the Terra blockchain

were real Chai transactions that had elsewhere occurred through

traditional means of payment or were entirely fake transactions.

See Edman Dep. 139:1–14 (“Q. Did any of the information that you

did have and did review indicate to you that the purported Chai

user merchant transactions were not real? A. Well, the information

available to me made clear that they were intended to replicate

purported Chai user and merchant transactions. Whether there’s a

corresponding real world transaction that occurred off of the Terra

blockchain,   I   don’t    believe    I     can   answer   that   based   on   the

information that . . . was provided.”). The answer to that question

had no bearing on Dr. Edman’s conclusions, nor is it relevant to

the   ultimate     issue     of      whether        defendants     fraudulently

misrepresented that Chai used the Terraform blockchain to process

transactions.     Quite    aside     from     the   notable   fact    that     the

information     that   defendants         criticize    Dr.    Edman   for      not

considering is information that defendants were unable to produce,

ECF No. 136 (“Daubert Hearing Tr.”), at 60–61, Dr. Edman was able

to reach his conclusions based on the LP Server source code and

public blockchain data. Defendants provide no satisfying account

of why the information Dr. Edman relied on was insufficient to




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conclude    that     the   LP     Server     replicated    purported        Chai

transactions.

     Defendants also assert that Dr. Edman’s analysis relies on

improper speculation about inputs into the LP Server. To the

contrary, however, Dr. Edman’s analysis is based on his review of

the LP Server itself, the “repository” of which contained “scripts”

that “use the private keys controlled by the LP Server to create

transactions associated with purported merchant user wallets.”

Edman Dep. 150:9–151:15. That Dr. Edman testified at his deposition

that he “would just be speculating” in response to questions from

defense counsel about matters he did not analyze and that were

outside the scope of his inquiry does not mean that what he did

analyze was unreliable.

     Defendants also make the puzzling argument that “Dr. Edman’s

methodology   used    in   forming     his   opinions   fatally    lacks    any

definition of ‘processing and settlement’ or a framework (let alone

an   industry-recognized        one)   for   evaluating   the     meaning    of

‘processing and settlement’ within the Chai payment system.” Mem.

against Edman at 14. But Dr. Edman did not refer to the “processing

and settlement” of payments as a term of art. He “instead was using

it to describe that Chai merchants were not being paid by their

customers on the Terra blockchain.” ECF No. 110 (“SEC Edman Opp.”),

at 17. It is common parlance to refer to credit card readers or

other payment devices as “processing” a payment. And most anyone


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who has visited a hotel or restaurant has heard reference to

“settling” -- in another word, paying -- a bill. Dr. Edman’s

failure to define those terms in his report will not impede a

jury’s understanding of his conclusions.

       Defendants also argue that Dr. Edman did not reliably apply

a   proper     methodology      in    concluding           that   the     purported     Chai

transactions        “occurred       within        a    ‘closed      system’    of     Terra

blockchain wallet addresses.” Mem. against Edman at 16. While cast

as an argument about methodology, defendants’ gripes appear to be

mere     disagreements        with         Dr.    Edman’s         categorizations          and

conclusion. Defendants point to three digital wallet addresses --

out of the more than 2.7 million that Dr. Edman reviewed -- that

“were    not   identified      by    Dr.     Edman      as   being      associated    with”

Terraform but that made transfers to the LP Server wallet. Id. In

his rebuttal report, Dr. Edman explained that “two were associated

with Terra blockchain validators operated by Terraform and one

appears to be an omnibus wallet on a centralized exchange that

received funds from a Terraform wallet address and which Terraform

used    to   send     funds   to     the    LP    Wallet     when    it    needed     to    be

replenished.” SEC Edman Opp. at 21; see ECF No. 87-3 (“Edman

Rebuttal Rep.”), at ¶¶ 18-29. Defendants describe Dr. Edman’s

explanation      as    a   silent      switch         of   methodology,       because       he

previously assessed whether Terraform controlled given digital

wallet addresses only by looking to whether Terraform held the


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“private keys” to those wallet addresses. Defendants’ assertion is

an overreach. The Court agrees with the SEC that “the three wallet

addresses mentioned by [defendants’ expert] Mr. Unny do nothing to

undermine Dr. Edman’s opinion that the LP Server operated a closed

system involving millions of supposed Chai merchant and customer

wallet addresses,” and “even if they did, this is exactly the type

of criticism that should be addressed on cross-examination.” SEC

Edman Opp. at 22.

       Lastly,   defendants    challenge      Dr.    Edman’s     conclusions   by

contending that he failed to account for an alternative explanation

that   the   record   provides      no   evidence    to    support.   Defendants

mobilize the opinion of their rebuttal expert, Mr. Raj Unny, that

Terraform’s control of the digital wallet addresses making and

receiving    payments   on    the   LP   Server     is    also   consistent   with

Terraform operating the LP Server with “custodial wallets” rather

than as a closed system that merely replicates transactions. Mem.

against Edman at 18. A “custodial wallet” allows a third party to

a transaction to manage assets on behalf of users, so that users

need not transfer their crypto assets directly and thus have an

added layer of protection. See ECF No. 109-1 (“Unny Rep.”), at ¶

19. For a potentially useful analogy, one might think of a password

management system that a person can use to create and store

passwords to sign in and out of accounts without having to remember

or type in the passwords themselves.


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     As Dr. Edman explained, “[i]f the LP Server were a ‘custodial

wallet   implementation,’        . . .    [one]     would    expect    to    observe

deposits   to   and   withdrawals    from     the    supposed    Chai       user   and

merchant custodial wallets” at some point. Edman Rebuttal Rep. ¶

14. Yet, “there are none.” Id. Indeed, Mr. Unny testified at his

deposition that he saw no evidence on the Terraform blockchain

that either Terraform or Chai were providing custodial wallets to

Chai customers. Edman Dep. 160:17-161:1. Nor is there any other

evidence   in   the   record     suggesting    as    much.    There    is    nothing

unreliable about Dr. Edman’s failing to credit or discuss an

alternative explanation that is nowhere supported by the evidence. 7

Accordingly, Dr. Edman may testify at trial.

     C. Dr. Terrence Hendershott

     Defendants offer Dr. Terrence Hendershott, a professor of

finance at the Haas School of Business at the University of

California at Berkeley who focuses on market microstructure, as a

rebuttal   expert     to   SEC    expert      Dr.    Mizrach.    ECF    No.        93-1

(“Hendershott Report”), at ¶¶ 1–2. Dr. Hendershott has “published

numerous articles on the structure, design, and regulation of

financial markets and how market participants . . . affect price

discovery and the liquidity of different financial markets.” Id.


7 Defendants also argue that Dr. Edman improperly opines about
intent. But Dr. Edman’s opinions are about software, not the state
of mind of any individuals or any broader assessments of corporate
strategy.


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¶ 3. Dr. Hendershott concludes that “Dr. Mizrach’s price impact

analysis is conceptually flawed” and cannot “establish[] that

UST’s re-peg would not have happened in the absence of Jump’s

trading” in May 2021. Id. ¶ 10. In addition, Dr. Hendershott

concludes    that     Dr.     Mizrach’s      price    impact    analysis     is

methodologically flawed because it does not distinguish between

different types of trades -- such as active versus passive -- and

because it uses average trade size rather than Jump’s “actual

number of net buy trades,” leading to “economically nonsensical

results.” Id. ¶¶ 11–12. The Court denies the SEC’s motion to

exclude his testimony.

      The SEC’s primary argument is that Dr. Hendershott’s opinions

are   unreliable    because    he   ignored   key    factual   evidence    that

Terraform had agreements allowing Jump to acquire LUNA at below-

market prices, which gave Jump a strong financial incentive to

make trades that pushed UST’s price back up to $1.00. ECF No. 93

(“Mem. against Hendershott”), at 6–7. But the SEC fails to explain

why it would have been necessary for Dr. Hendershott to consider

those agreements for his critiques of Dr. Mizrach’s model. By Dr.

Mizrach’s   own    description,     his    model   simply   assessed   whether

Jump’s trading played a role in moving UST’s price back to $1.00

in May 2021. Jump’s motive for those trades has no bearing either

on Dr. Mizrach’s model or on the conceptual and methodological

critiques that Dr. Hendershott offers. See ECF No. 104 (“Defs.’


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Hendershott Opp.”), at 2 n.3 (“Prof. Hendershott did not address

the agreements about which the SEC complains because the . . .

methodology      employed   by   Dr.   Mizrach   did     not   incorporate   any

information from those agreements in any way.”).

     The SEC also contends that Dr. Hendershott should not be

permitted to testify regarding the overview in his report “of

blockchain technology, as well as the crypto assets and aspects of

the Terra ecosystem that relate to his opinions,” because he lacks

relevant training and experience in these areas. Mem. against

Hendershott at 12; see Hendershott Rep. ¶¶ 17-32. But the SEC

itself acknowledges that that “[t]his explanation is in service to

Dr. Hendershott’s analysis of the May 2021 UST depegging.” Mem.

against Hendershott at 13. Rather than purport to offer opinions

about    blockchain     technology,     Dr.   Hendershott      simply   provides

context for his analysis that is helpful to the reader. If, at

trial,     the    SEC   disagrees      with   any   of     Dr.   Hendershott’s

characterizations, it is free to cross-examine him about them or

otherwise rebut them.

     D. Mr. Raj Unny

     Defendants offer software developer Raj Unny as a rebuttal

expert to SEC expert Dr. Edman. Mr. Unny has “been deeply involved

in software technologies across a broad spectrum of industries”

for 28 years and is the founder and CEO of Indus Finch Group, a

Swiss software design and development company. ECF No. 109-1 (“Unny


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Rep.”), at ¶¶ 1–2. He has degrees in computer science and advanced

computing. Id. ¶ 7. Mr. Unny has “been involved in several projects

that built blockchain applications during the past several years,”

including developing and launching a cryptocurrency. Id. ¶ 5. Mr.

Unny concludes that “Dr. Edman provides insufficient evidence to

substantiate his claims and opinions that the ‘purported Chai

transactions on the Terra blockchain’ did ‘not represent the actual

processing and settlement of real world Chai transactions’ and

were instead ‘transactions generated by the LP Server.’” Id. ¶ 11.

     The Court grants the SEC’s motion to exclude Mr. Unny’s

testimony because he has not demonstrated sufficient expertise in

blockchain analysis to opine on Dr. Edman’s conclusions and, by

contrast with Dr. Hendershott’s brief excursion into blockchain

description to provide context, Mr. Unny’s blockchain analysis is

central to his opinions here offered. At his deposition, Mr. Unny

could not name any specific tools he had used in his professional

experience    to   review    blockchain       transactions   and,   even    more

strikingly,   admitted      that   he   did    not   personally   analyze    the

Terraform blockchain data in this case. See Unny Dep. 9:10–11:6,

11:16–20, 23:23–24:9, 57:11–19. Rather, the analysis discussed in

Mr. Unny’s report was performed by employees of the consulting

firm Cornerstone Research, whose qualifications or methodology Mr.

Unny did not know at all. Nor could Mr. Unny even recall which




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computer program the Cornerstone analysts had used. Unny Dep.

188:2–11.

      Defendants retort that Mr. Unny has “substantial experience

with building and developing both blockchain applications and

payment systems.” ECF No. 109 (“Defs.’ Unny Opp.”), at 7 (emphasis

omitted). Yet, as the SEC points out, neither defendants nor Mr.

Unny “explain how such experience would allow Mr. Unny to trace

and analyze blockchain transactions.” ECF No. 118 (“SEC Unny

Reply”), at 2. As Mr. Unny acknowledged at his deposition, the

projects that defendants reference -- from Mr. Unny’s role as Chief

Technology Officer at a company called ft.digital Fintech -- were

incomplete, had no paying clients, and were never deployed. Id. at

2–3; see Unny Dep. 73:22–74:1 (referring to one project as “an

experimental proof of concept”).

      Moreover,   even   if   Mr.   Unny   met   the   threshold   level   of

qualification, the Court would exclude his testimony for the

further reason that it is speculative and wholly unsupported by

evidence. At his deposition, Mr. Unny testified that the extent of

his opinion was that, in addition to Dr. Edman’s explanation that

the LP Server is a closed system that merely replicated purported

Chai transactions, “it’s also possible that [the LP Server] is

consistent with a custodial wallet system.” Unny Dep. 157:7–12.

But Mr. Unny disclaimed any opinion that Terraform in fact offered

a   custodial   wallet   service.   Unny   Dep.   169:13–15.   Indeed,     he


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acknowledged seeing no evidence on the Terraform blockchain that

either Terraform or Chai provided custodial wallet services. Unny

Dep. 160:17–161:1 (“Q. Did you see anything on the blockchain that

indicated that Terra was custodying crypto assets for its users or

merchants? A. No.”).

     Mr. Unny’s conclusion that certain Chai applications “may

have interacted with or even directed the LP Server” is similarly

conjectural. Unny Rep. ¶ 45. At his deposition, Mr. Unny was unable

to explain how any documents or data showed that those Chai

applications interacted with the server. See Unny Dep. 116:5–22

(“[A]ll I can do is I can guess from the file names.”). Such

unsupported, gestural testimony would not aid, and could only

mystify, a jury. Because “a trial judge should exclude expert

testimony if it is speculative or conjectural,” Zerega Ave. Realty

Corp. v. Hornbeck Offshore Transp., LLC, 571 F.3d 206, 213-14 (2d

Cir. 2009), the Court will not permit Mr. Unny to testify.

     E. Dr. Christine Parlour

     Defendants’ final expert is economist Dr. Christine Parlour,

who teaches at the Haas School of Business at the University of

California   at   Berkeley     and    conducts    research    on    market

microstructure and cryptocurrency. ECF No. 94-1 (“Parlour Rep.”),

at ¶ 1. Dr. Parlour holds a Ph.D. in economics from Queen’s

University at Kingston. Id. ¶ 3. She has authored a book chapter

on cryptocurrencies in the Handbook of Alternative Finance and has


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published articles on price dynamics and informed trading in limit

order markets (where trades are executed once a particular price

is reached). Id. ¶ 4. Dr. Parlour’s testimony would “provide an

overview   of   the   characteristics   and    underlying      economics   of

certain tokens on the Terra blockchain” and “discuss whether risks,

such as the risk of a de-peg with respect to the TerraUSD [UST]

stablecoin, had been discussed by [Terraform], regulators, and

other market participants.” Id. ¶ 9.

     The Court grants the SEC’s motion to exclude Dr. Parlour’s

testimony because it consists of a factual narrative that would

not aid a jury. Notwithstanding the language of her report, the

SEC correctly points out that “Dr. Parlour does not offer any

opinion about how the Terraform crypto assets actually functioned,

just how they were ‘designed’ to work.” ECF No. 94 (“Mem. against

Parlour”), at 7; see Parlour Dep. 134:9–23 (“Q. So you’re not

offering any opinions about how UST was actually used, just how it

was designed. Is that fair? A. That’s fair.”). And Dr. Parlour’s

opinions about the designs of Terraform’s crypto assets are largely

based on Terraform’s own marketing materials. See Parlour Rep. ¶¶

39-67. Such opinions are, at best, unhelpful to a jury, and at

worst, have a serious potential to mislead.

     Dr.   Parlour’s    second   category     of   testimony    --   whether

Terraform, regulators, and market participants discussed the risks

of a UST depeg -- is even less defensible as a proper subject of


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expert opinion. Whether or not certain people were discussing a

certain subject is not here relevant, let alone a matter that calls

for expert testimony. Moreover, Dr. Parlour did not base her second

conclusion on sufficient facts and data. It appears that Dr.

Parlour     reviewed     certain      public        statements,         papers,       and

communications favorable to defendants’ perspective -- that the

public was aware of the risk of UST losing its value -- but did

not mention a white paper in which Terraform itself downplayed

such risk. Yet Dr. Parlour testified at her deposition and at the

Daubert hearing that she knew about the white paper, but chose to

ignore it because, in her view, it “wasn’t relevant” and was

“abstruse.” Parlour Dep. 201:22–202:10; Daubert Hearing Tr. 16.

     Even     more    problematic     is    the      fact    that       Dr.    Parlour

specifically    disclaimed      performing      a    comprehensive          review    of

Terraform’s     or     Kwon’s    Twitter       accounts         or    other     public

communications. Parlour Dep. 22:11-17 (“Q. Did you make any effort

to review the public statements of Terraform Labs before issuing

your report? A. I did not do a comprehensive analysis of the

statements    issued    by   Terraform      Labs     when   I     put      together    my

report.”).     In    other   words,   Dr.    Parlour        did      not    conduct    a

comprehensive review of the very documents on which the SEC relies

to argue that defendants committed fraud by reassuring the public

that UST’s price was algorithmically stable. And when she was asked

at her deposition whether Terraform “ever publicly state[d] that


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the risk of a depeg was low,” her answer was that she did not know.

Parlour Dep. 82:15-20.

     Nor has Dr. Parlour articulated a reliable methodology to

form her conclusions. When asked about any such methodology at her

deposition,     Dr.    Parlour    referred     only    to   “the   training   and

experience that [she] got in [her] economics Ph.D.” and “the usual

economic and general understanding.” Parlour Dep. 53:15–23, 54:8–

15, 224:11–14. When asked again by the Court at the Daubert

hearing, Dr. Parlour explained that she “took” a “long literature”

“that     basically    talks     about   microeconomics,       incentives,    how

markets     work,     [and]    understanding     the    relationship    between

markets” “and then . . . put the facts that we know about this new

type of business model into that literature just so that it sort

of makes sense from an economics and finance point of view.”

Daubert Hearing Tr. 13-14. This is not remotely the kind of

specific     methodology      that   Daubert   and     Kumho   Tire   prescribe.

Ultimately, the basis for Dr. Parlour’s conclusions boils down to

her own “ipse dixit,” which is plainly insufficient for admission

of her testimony under Daubert and Rule 702. Kumho Tire, 526 U.S.

at 157. In sum, the Court excludes Dr. Parlour’s testimony because

it would place her not in the role of expert, but of narrator –-

and not even a reliable narrator, at that.

  III. Motions for Summary Judgment

     A. Offering and Selling Unregistered Securities


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     1. There is no genuine dispute that UST, LUNA, wLUNA, and MIR

          are securities because they are investment contracts.

     The SEC argues that four of Terraform’s crypto assets –- UST,

LUNA, wLUNA, and MIR –- are securities, as defined in Section

2(a)(1) of the Securities Act for the purposes of the federal

securities laws, because they are “investment contract[s].” 15

U.S.C. § 77b(a)(1). Defendants first argue that, even if all the

SEC’s allegations are credited, those assets are not investment

contracts as a matter of law. In the alternative, defendants

contest    the   SEC’s   assertion   that   undisputed   facts   do   indeed

demonstrate that the crypto assets here at issue are investment

contracts.

     Defendants’ first argument in effect asks this Court to cast

aside decades of settled law of the Supreme Court and the Second

Circuit. In the seminal decision of SEC v. W.J. Howey Co., 328

U.S. 293 (1946), the Supreme Court held in no uncertain terms that

“an investment contract for purposes of the Securities Act means

a contract, transaction or scheme whereby a person invests his

money in a common enterprise and is led to expect profits solely

from the efforts of the promoter or a third party.” Id. at 298-

99. Defendants urge this Court to scrap that definition, deeming

it “dicta” that is the product of statutory interpretation of a




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bygone era. 8 The Court declines defendants’ invitation. Howey’s

definition of “investment contract” was and remains a binding

statement of the law, not dicta. And even if, in some conceivable

reality, the Supreme Court intended the definition to be dicta,

that is of no moment because the Second Circuit has likewise

adopted the Howey test as the law. 9 See, e.g., Revak v. SEC Realty

Corp., 18 F.3d 81, 87 (2d Cir. 1994).

     There is no genuine dispute that the elements of the Howey

test –- “(i) investment of money (ii) in a common enterprise (iii)

with profits to be derived solely from the efforts of others” (id.)

–- have been met for UST, LUNA, wLUNA, and MIR.




8 Defendants made other arguments at the motion to dismiss stage,
similarly seeking to avoid the application of Howey’s test to
determine whether their crypto assets are securities. The Court
rejected those arguments, which involved the major questions
doctrine, due process, and the Administrative Procedure Act. See
ECF No. 51, at 18-29. Although the legal argument defendants now
newly make was equally available at that earlier stage of this
litigation, the SEC does not contend that the argument has been
waived or forfeited, so the Court carries on to the merits of it.

9 Defendants’ argument that the Supreme Court conducts statutory
interpretation differently nowadays, and thus would not today
independently reach the same holding it did in Howey, is no more
persuasive even if the premise is credited arguendo. The Supreme
Court has cautioned that “other courts should [not] conclude that
[its] more recent cases have, by implication, overruled an earlier
precedent.” Agostini v. Felton, 521 U.S. 203, 237 (1997). When a
Supreme Court precedent “has direct application in a case,” as
Howey does here, this Court must follow it, even if it “appears to
rest on reasons rejected in some other line of decisions.” Id. In
any event, neither the Supreme Court nor the Second Circuit has
ever suggested that Howey rests on a shaky foundation.


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       UST. Defendants make much of the fact, undisputed by the SEC,

that    UST   on    its   own   was   not     a    security   because       purchasers

understood that its value would remain stable at $1.00 rather than

generate a profit. But, beginning in March 2021, holders of UST

could     deposit    their      tokens   in       the   Anchor    Protocol,     which

defendants’ efforts developed and which Kwon himself publicly

announced would generate “by far the highest stablecoin yield in

the market,” with a “target” of “20% fixed APR.” ECF No. 73, Ex.

66; id., Ex. 67. On May 11, 2021, Terraform wrote in a promotional

Tweet that the Anchor Protocol would allow “third parties to

seamlessly integrate 20% yield on $UST to expand stable savings

opportunities to a greater audience.” Id., Ex. 135. A 2020 white

paper described Terraform’s work on the Anchor Protocol as “an

attempt to give the main street investor a single, reliable, rate

of return across all blockchains.” Id., Ex. 44 at 2.

       Once launched, returns from the Anchor Protocol were indeed

paid out in proportion to the amount of UST tokens a person or

entity had deposited. Defs.’ Response to SEC 56.1 ¶ 80. The Anchor

Protocol website stated that “[d]eposited stablecoins are pooled

and    lent   out    to   borrowers,        with    accrued      interest    pro-rata

distributed to all depositors.” Id. Terraform promoted in an

October 2021 Tweet that it had configured its website to allow

deposits of UST into the Anchor Protocol “directly from the Terra

Station desktop wallet.” ECF No. 75, Ex. 136. A Terraform manager,


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Matthew Cantieri, led a team that worked on the Anchor Protocol.

Defs.’ Response to SEC 56.1 ¶ 83. His responsibilities included

the ”strategic direction of the protocol, user adoption, making

sure that people were accountable for product roadmap items, [and]

working with Do [Kwon] and the team on what those products should

be.” Id. By May 2022, there were approximately 18.5 billion tokens

of UST, 14 billion of which had been deposited in the Anchor

Protocol. Id. ¶ 36.

       The above undisputed evidence clearly demonstrates that UST

in combination with the Anchor Protocol constituted an investment

contract. As the Supreme Court has held, it is of no legal

consequence that not all holders of UST deposited tokens in the

Anchor Protocol, and thus that some holders “ch[o]se not to accept

the full offer of an investment contract.” Howey, 328 U.S. at 300.

       LUNA and wLUNA. Defendants’ efforts to rebut the evidence

that LUNA and wLUNA were securities are even further off the mark.

In denying the motion to dismiss, the Court held that, “by alleging

that   the   defendants   ‘pooled’    the   proceeds   of   LUNA   purchases

together     and   promised   that   further   investment   through       these

purchases would benefit all LUNA holders, the SEC has adequately

pled that the defendants and the investors were joined in a common,




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profit-seeking enterprise.” ECF No. 51, at 37. Those well-pleaded

allegations have now been substantiated with undisputed evidence. 10

     Kwon and others made specific, repeated statements that would

lead a reasonable investor in LUNA to expect a profit based on

defendants’ efforts to further develop the Terraform blockchain.

Terraform’s business development lead, Jeff Kuan, stated in a 2021

public interview that “investing in Terra means . . . buying LUNA,

which is the ‘equity’ in our co.” Response to SEC 56.1 ¶ 63.

Terraform’s head of communications, Brian Curran, remarked in a

June 2021 public interview that “[o]wning LUNA is equivalent to

owning a stake in the transaction fees of a network like Visa”

because “[a]ll the transaction fees from Terra stablecoins are

distributed to LUNA stakers in the form of staking rewards.” ECF

No. 75, Ex. 107.

     In a similar vein, Terraform’s Director of Special Projects,

SJ Park, stated in a videotaped presentation around the same time

that “[o]wning LUNA is essentially owning a stake in the network

and a bet that value will continue to accrue over time.” Defs.’

Response to SEC 56.1 ¶ 63. And Kwon himself wrote in a public Tweet

that “$Luna value is actionable –- it grows as the [Terraform]


10 As the Court explained in its opinion denying the motion to
dismiss, the analysis of LUNA applies equally to wLUNA. See ECF
No. 51, at 37 (“[T]he wLUNA investors were just a variation on
this theme since wLUNA tokens could be exchanged for LUNA
tokens.”); see also Defs.’ Response to SEC 56.1 ¶ 42.



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ecosystem grows.” ECF No. 75, Ex. 108. In Kwon’s own words, a

holder of LUNA could simply “[s]it back and watch [him] kick ass.”

Id. In other words, a person could invest their “money in a common

enterprise” and be “led to expect profits solely from the efforts

of the promoter or a third party,” namely, Terraform and Do Kwon

himself. 11 Howey, 328 U.S. at 299. Indeed, the price of LUNA

increased from under $1.00 in January 2021 to a high of over $119

in April 2022, before plummeting to under a penny in May 2022. ECF

No. 75, Ex. 125.

     MIR. Finally, the evidence shows beyond dispute that MIR was

a security for similar reasons. “[T]he proceeds from sales of the

MIR tokens were ‘pooled together’ to improve the Mirror Protocol,”

and “[p]rofits derived from the use of the Mirror Protocol . . .

were fed back to investors based on the size of their investment.”


11Defendants challenge as inadmissible the declaration of Donald
Hong, the SEC’s summary witness who reviewed Terraform’s financial
records to show that the funds from LUNA purchases were indeed
pooled. Defendants argue that Hong’s declaration is a last-minute,
back-door expert report because he states that “the evidence
reflects that defendants pooled investor funds into wallet
addresses, crypto trading platform accounts, and bank accounts
they controlled and used those funds to make payments for business
expenses.” ECF No. 123 (“Defs.’ Opp.”), at 7. But a witness
providing “a summary of the relevant financial records” is not
supplying expert testimony under Federal Rule of Evidence 702.
United States v. Lebedev, 932 F.3d 40, 50 (2d Cir. 2019), abrogated
on other grounds, Ciminelli v. United States, 598 U.S. 306 (2023).
And, as the SEC points out, “Hong’s summary is even more mechanical
than the analyses approved as summary testimony in Lebedev . . .,
which relied on accounting methodologies.” ECF No. 127 (“SEC
Reply”), at 8; see also Fed. R. Evid. 1006 (allowing summary
testimony).


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ECF No. 51, at 37. Terraform described MIR as a “governance token

that earns fees from asset trades” on the Mirror Protocol that

Terraform launched. Defs.’ Response to SEC 56.1 ¶¶ 38, 101; ECF

No. 73, Ex. 80. A Terraform press release at the launch of the

Mirror Protocol touted that “[b]y adding the Mirror governance

token –- MIR -- to liquidity pools, MIR holders can earn 0.25%

from trading fees.” ECF No. 73, Ex. 80. Although Terraform labeled

“the protocol [as] decentralized,” it explained that “the team

behind Terra contributed most of the core development work behind

the Mirror.” Id. Kwon himself sent promotional materials to a

potential MIR purchaser, including a spreadsheet with a revenue

projection table estimating how the price of MIR would increase as

a result of greater usage of the Mirror Protocol. ECF No. 75, Ex.

148.

       Terraform also described to potential investors its efforts

to strengthen the Mirror Protocol, such as “deploying its UST

reserves to make the markets for mAssets for the first year of the

protocol,” building the Mirror Protocol website and hiring a firm

to audit Terraform’s code for doing so, and publishing “dashboards”

showing the Mirror Protocol’s growth. Defs.’ Response to SEC 56.1

¶¶   102,   103,   107.   In   a   public   question-and-answer    session,

Terraform’s Community Lead, Aayush Gupta, stated on behalf of

Terraform that the company was “very upbeat on our marketing

campaign” and was “doing [its] best with its global suite of talent


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and   organizing   stuff     like   trading   competitions      and    referral

campaign to increase visibility for Mirror.” Id. ¶ 108. In an April

2021 interview, Terraform’s head of communications, Brian Curran,

stated that Terraform intended to launch a “V2” of the Mirror

Protocol, which would bring “several major improvements,” and that

Terraform planned to expand the Mirror Protocol “beyond SE Asia

and the typical US market.” Id. ¶ 109. Terraform employed a

“product   manager”    for    the   Mirror    Protocol    and   retained      an

administrative key to provide software updates to it. Id. ¶ 111.

Terraform used proceeds from the sale of MIR, which it pooled, “to

make payments for services, salary, and operations.” ECF No. 77,

at ¶ 25; see id. at ¶¶ 29-32.

      In light of all this, defendants cannot meaningfully dispute

that they led holders of MIR to expect profit from a common

enterprise based on Terraform’s efforts to develop, maintain, and

grow the Mirror Protocol -- in other words, that MIR passes the

Howey test with flying colors.

      2. There is no genuine dispute that defendants offered and

        sold unregistered securities, in violation of Sections 5(a)

        and 5(c) of the Securities Act.

      The Court grants summary judgment to the SEC on Count IV of

the   Amended   Complaint     because      defendants    offered      and   sold

unregistered securities, in violation of Sections 5(a) and 5(c) of




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the Securities Act. In particular, defendants offered and sold

LUNA and MIR in unregistered transactions.

     “Section 5 requires that securities be registered with the

SEC before any person may sell or offer to sell such securities.”

SEC v. Cavanagh, 445 F.3d 105, 111 (2d Cir. 2006). Section 5(a)

covers unregistered sales and Section 5(c) covers unregistered

offers. See 15 U.S.C. § 77e(a), (c). To prove liability under

Section 5, the SEC must show “(1) lack of a registration statement

as to the subject securities; (2) the offer or sale of the

securities;    and    (3)    the    use   of     interstate      transportation    or

communication and the mails in connection with the offer or sale.”

Cavanagh,    445   F.3d     at    111   n.13.    Only    the    second   element   is

contested here.

     Terraform       sold    LUNA       tokens    directly       to   institutional

investors through sales agreements that expressly contemplated

Terraform’s development of a secondary market. Defs.’ Response to

SEC 56.1 ¶¶ 117–19. The terms of those agreements provided a built-

in incentive for secondary resale because Terraform sold LUNA to

initial investors at discounts of up to, and sometimes more than,

40%. Id. ¶ 119. In a fundraising update in December 2018, Terraform

co-founder Daniel Shin wrote that Terraform had “begun exchange

listing discussions given token listing is a precondition for [the]

Terra/Luna    ecosystem      to    operate.”       Id.   ¶     121.   Similarly,   as

Terraform provided loans of tens of millions of LUNA tokens to


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trading firm Jump, Kwon announced Terraform’s expectation that

Jump   would   “improve    liquidity     of       LUNA   in    secondary    trading

markets.” Id. ¶ 126. Kwon stated that, before Jump’s involvement,

LUNA’s liquidity had been “rather lackluster partly due to our

team’s inexperience with secondary markets & trading operations.”

Id.

       Terraform’s offers and sales of MIR were similar. A Terraform

subsidiary sold MIR tokens directly to purchasers through “Simple

Agreements     for   Farmed   Tokens,”       or    SAFTs.     Id.   ¶   135.   Those

agreements did not restrict purchasers from reselling their MIR

tokens in secondary trading markets or to U.S. investors. Id. ¶

136. Terraform also loaned up to 4 million MIR tokens to Jump, in

an agreement that expressly required Jump to trade MIR tokens on

crypto asset trading platforms and to provide Terraform with

reports of its trading. Id. ¶ 138. Terraform also sold both LUNA

and MIR tokens to secondary market purchasers on Binance and other

crypto   trading     exchanges.   Id.    ¶   142.    The      record    provides   no

evidence that Terraform took steps to determine whether those

trading platforms were available to U.S. investors. Id. ¶ 143.

       Defendants argue that even if LUNA and MIR were securities,

they were exempt from registration. But “[o]nce a prima facie case”

of Section 5 liability “has been made, the defendant bears the

burden of proving the applicability of an exemption.” Cavanagh,

445 F.3d at 111 n.13. Defendants have not carried that burden here.


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      Defendants contend that their distributions of LUNA and MIR

were not public offerings because they only sold directly to

sophisticated investors. See ECF No. 100 (“Defs.’ Mem.”), at 25–

27; SEC v. Ralston Purina Co., 346 U.S. 119, 125 (“An offering to

those who are shown to be able to fend for themselves is a

transaction ‘not involving any public offering.’”). But to avail

themselves of that exemption, defendants would need to also show

that they “intended” the LUNA and MIR tokens “to come to rest with”

those sophisticated investors. SEC v. Telegram Grp. Inc., 448 F.

Supp.    3d   352,   380   (S.D.N.Y.   2020).   The   natural   problem    for

defendants is that “securities do not come to rest with investors

who intend a further distribution.” Id. at 380. Terraform’s own

repeated statements about developing a liquid secondary market for

LUNA, and its express requirement that Jump trade MIR on exchanges

-- and even that Jump provide reports to Terraform about that

secondary trading -- make plain that neither Terraform nor its

institutional investors had any intent to simply hold onto LUNA or

MIR without further trades. It is immaterial that the vesting

period in certain sales agreements “precluded immediate resale” or

“that LUNA was not listed on any trading platform at the time of

the purchases” by those institutional investors. Defs.’ Mem. at

25.

      Defendants also argue that certain sales agreements for LUNA

were exempt from registration under Regulation S, which states


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that Section 5’s reference to offers and sales refers only to those

“that occur within the United States.” 17 C.F.R. § 230.901. But

defendants point to no evidence -- as they must, given that they

bear the burden of proof on this exemption -- showing that they

reasonably believed “at the commencement of the offering” that

there was “no substantial U.S. market interest” or that they took

any steps to prevent resale of LUNA and MIR into the U.S. market.

Id. § 230.903. Conjecture that “if a purchaser intended to sell

its LUNA, it could have done so without violating Section 5 by

selling on any of several foreign platforms under Regulation S’s

exemption,” is not evidence that purchasers limited their resales

to foreign exchanges or that Terraform believed purchasers did so.

Defs.’ Mem at 25-26.

     The SEC is thus entitled to summary judgment of liability on

Count IV of the Amended Complaint for defendants’ unregistered

offers and sales of LUNA and MIR. The SEC’s motion for summary

judgment made no mention of potential remedies, which will be

determined once the question of liability has been resolved for

all claims.

     3. As a matter of law, defendants did not offer or effect

       transactions in security-based swaps.

     The Court grants summary judgment for defendants on Counts V

and VI of the Amended Complaint, alleging that defendants offered

unregistered   security-based      swaps   to   non-eligible     contract


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participants, in violation of Section 5(e) of the Securities Act,

and   effected   transactions    in   security-based    swaps   with     non-

eligible contract participants, in violation of Section 6(l) of

the Exchange Act. Although the SEC makes no argument that an mAsset

is itself a security, see ECF No. 142 (“Summary Judgment Arg.

Tr.”), at 6 (counsel for the SEC conceding the point), the SEC

asserts that by creating and maintaining the Mirror Protocol

through which others could mint mAssets, defendants offered and

effected transactions in security-based swaps. The Court holds,

however, that an mAsset does not meet the statutory definition of

a security-based swap.

      The Commodity Exchange Act defines a “swap” as “any agreement,

contract, or transaction . . . that provides on an executory basis

for the exchange . . . of 1 or more payments based on the value or

level of 1 or more . . . securities . . . and that transfers, as

between the parties to the transaction, in whole or in part, the

financial risk associated with a future change in any such value

or level without also conveying a current or future direct or

indirect    ownership    interest      in   an   asset.”    7   U.S.C.     §

1a(47)(A)(iii). A “security-based swap” is such a swap that, as

relevant here, “is based on . . . a single security.” 15 U.S.C. §

78c(a)(68).

      The Mirror Protocol’s mAssets satisfy most -- but not all --

of the definition’s requirements. A user who mints or purchases an


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mAsset through the Mirror Protocol indeed exchanges a payment based

on the value of some underlying reference security, such as a share

of Apple. Defs.’ Response to SEC 56.1 ¶¶ 112–14. And the user does

so without receiving any ownership interest in the underlying

security. Id. But, crucially, there is no transfer of financial

risk involved here. Whenever the price of an underlying security

increases above the user’s initial payment, or collateral, for the

mAsset, the user is required to deposit additional collateral to

meet the higher price. Id. ¶ 114. In other words, a user cannot

profit from holding an mAsset because his deposit must always

exceed the value of the underlying reference security. If the user

fails to deposit sufficient additional collateral, the mAsset will

be lost. Id. ¶ 114.

     As a result, there is no evidence in the record showing how

a holder of an mAsset transfers any “financial risk associated

with a future change” in the value of a security to or from a

counterparty in a transaction. 7 U.S.C. § 1a(47)(A)(iii). Rather,

the holder bears all the risk for himself. The SEC nevertheless

waves its hand and contends “that the financial risk is actually

being transferred to the investor, to the one minting the asset.”

Summary Judgment Arg. Tr. 13. But the fact that the minter of an

mAsset   bears   financial   risk   from   his   own   choice   to   deposit

collateral, which could lead to the loss of that collateral, does

not mean that any of that risk was “transfer[red]” to him by a


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counterparty in a transaction. 7 U.S.C. § 1a(47)(A)(iii). Instead,

the minter holds the risk all along. As a result, because mAssets

are not security-based swaps, the Court grants summary judgment

for defendants dismissing Counts V and VI of the Amended Complaint.

      B. Fraud

      Unlike the claims involving offering or selling unregistered

securities or security-based swaps, which the Court has resolved

as a matter of law, genuine disputes of material fact linger that

preclude summary judgment for any party on the fraud claims. Much

of the SEC’s evidence of scienter for its two fraud allegations -

-   regarding    the   UST   depeg   and     Chai’s   use     of   the   Terraform

blockchain, respectively -- comes from third-party whistleblowers

whose credibility is critical and whose testimony is subject to

numerous challenges that are best resolved at trial. “Credibility

determinations, the weighing of the evidence, and the drawing of

legitimate inferences from the facts are jury functions, not those

of a judge.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255

(1986). Moreover, defendants have shown that there is a genuine

dispute   whether      a   reasonable    investor     would    have      found   the

statements involving the UST depeg and Chai to be materially

misleading. “Determination of materiality under the securities

laws is a mixed question of law and fact that the Supreme Court

has identified as especially well suited for jury determination.”

United States v. Litvak, 808 F.3d 160, 175 (2d Cir. 2015).


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     The SEC pursues its fraud claims under Section 17(a) of the

Securities Act and Section 10(b) of the Exchange Act, including

the latter’s companion Rule 10b-5. Section 17(a) makes it “unlawful

for any person in the offer or sale of any securities . . . by the

use of any means or instruments of transportation or communication

in interstate commerce . . . (1) to employ any device, scheme, or

artifice to defraud; or (2) to obtain money or property by means

of any untrue statement of a material fact or any omission to state

a material fact necessary in order to make the statements made, in

light    of   the   circumstances    under   which   they   were   made,   not

misleading; or (3) to engage in any transaction, practice, or

course of business which operates or would operate as a fraud or

deceit upon the purchaser.” 15 U.S.C. § 77q(a).

     Similarly, Section 10(b) of the Exchange Act makes it unlawful

“[t]o use or employ, in connection with the purchase or sale of

any security[,] . . . any manipulative or deceptive device or

contrivance in contravention of such rules and regulations as the

[SEC] may prescribe.” 15 U.S.C. § 78j(b). One such regulation

prescribed by the SEC under Section 10(b) is Rule 10b-5, which

makes it “unlawful for any person, directly, or indirectly, by the

use of any means or instrumentality of interstate commerce . . .

(a) To employ any device, scheme, or artifice to defraud, (b) To

make any untrue statement of a material fact or to omit to state

a material fact necessary in order to make the statements made, in


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light    of   the    circumstances       under       which   they   were       made,    not

misleading, or (c) To engage in any act, practice, or course of

business which operates or would operate as a fraud or deceit upon

any    person,    in    connection      with    the    purchase     or    sale    of    any

security.” 17 C.F.R. § 240.10b-5.

       “Rule 10b-5 and Section 17(a), which largely mirror each

other,     both     consist    of   a   ‘misstatement         subsection’        that    is

sandwiched between two ‘scheme subsections.’” SEC v. Rio Tinto

plc, 41 F.4th 47, 49 (2d Cir. 2022); see SEC v. Sason, 433 F. Supp.

3d 496, 508 (S.D.N.Y. 2020) (“Exchange Act § 10(b), Rule 10b-5(a)

and (c), and Securities Act § 17(a)(1) and (3) create what courts

have called scheme liability for those who, with scienter, engage

in deceitful conduct.”).

       Here, the SEC pursues both standalone misstatement liability

and scheme liability. To demonstrate scheme liability, “the SEC

must    [prove]     that     defendants:       (1)    committed     a    deceptive      or

manipulative act; (2) in furtherance of the alleged scheme to

defraud; (3) with scienter.” Id. at 508-09. “[M]isstatements and

omissions alone” are not “sufficient to constitute a scheme.” Rio

Tinto, 41 F.4th at 54. While “misstatements and omissions can form

part of a scheme liability claim, . . . an actionable scheme

liability claim also requires something beyond misstatements and

omissions,       such   as    dissemination.”         Id.    at   49.    The   requisite

scienter is intent to defraud or recklessness for each of the


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scheme liability provisions except Section 17(a)(3), for which

“[a] showing of negligence is sufficient.” SEC v. Ginder, 752 F.3d

569, 574 (2d Cir. 2014); see Sason, 433 F. Supp. 3d at 509.

      The SEC contends that “Kwon was the primary architect of the

scheme to mislead investors into believing that Chai was processing

and settling transactions on the Terra blockchain, when it was

not.” ECF No. 71 (“SEC Mem.”), at 42. As part of that scheme,

according   to   the    SEC,      “[d]efendants     made   and    disseminated

countless misrepresentations to investors, potential investors,

and the public that Chai was processing and settling transactions

on the Terra blockchain.” Id. at 43. Similarly, the SEC advances

a separate scheme wherein “Kwon, on behalf of Terraform, engaged

in deceptive conduct when he secretly made a deal with Jump to

step in and restore the $1 peg [of UST] in exchange for modifying

the terms of an agreement for LUNA tokens.” Id. Central to that

scheme was that, in the SEC’s view, “Kwon and Terraform . . . made

and   disseminated     numerous    false   and    misleading     statements   to

investors, potential investors, and the public suggesting that the

algorithm alone had caused UST’s repeg.” Id.

      The SEC also presses for liability on a standalone basis,

under Section 10(b) and Rule 10b-5(b), as well as Section 17(a)(2),

for defendants’ materially misleading statements. To establish

such liability, “the SEC must prove that the defendant[s] (1) made

one or more misstatements of material fact, or omitted to state


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one or more material facts that the defendants had a duty to

disclose; (2) with scienter; (3) in connection with the purchase

or sale of securities.” SEC v. Thompson, 238 F. Supp. 3d 575, 591

(S.D.N.Y.      2017). 12   The     required      scienter    is    again    “intent   to

deceive, manipulate, or defraud” or “reckless disregard for the

truth” for Section 10(b) and Rule 10b-5(b). SEC v. Frohling, 851

F.3d 132, 136 (2d Cir. 2016). But, like its neighbor Section

17(a)(3),      Section     17(a)(2)    can       be   met   with    “[a]    showing   of

negligence.” Ginder, 752 F.3d at 574.

     1. UST’s May 2021 Depeg

       The SEC’s evidence that defendants engaged in a scheme to

deceive investors about UST’s $1.00 peg, by secretly arranging for

Jump to make bulk purchases of UST to drive the price back up to

$1.00, is compelling but circumstantial, relying in large part on

the testimony of Jump whistleblowers whose credibility the jury

will need to determine. There is undisputed evidence that on May

23,    2021,    after      UST’s    price     had     fallen      below    $1.00,   Kwon

communicated multiple times with a Jump executive. Defs.’ Response

to SEC 56.1 ¶ 210. And it is also undisputed that Jump purchased




12Section 17(a)(2) contains the more specific requirement that a
defendant “obtain money or property by means of” such a
misstatement or omission. 15 U.S.C. § 77q(a)(2). Defendants
contest that this requirement is met. Because the Court denies
summary judgment on the issue of whether there were any such
misstatements or omissions, the Court does not reach whether the
additional “by means of” element has been satisfied.


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additional shares of UST at various points that day. See ECF No.

123 (“Defs. Opp.”), at 29. But those facts alone do not show any

secret    agreement,      and     the   rest    of   the    SEC’s    evidence,    while

damning, does not foreclose a genuine dispute of material fact

about     the     alleged    deceptive         conduct      or    related     potential

misstatements.

      The SEC’s best evidence of a scheme with Jump comes from text

messages between Jeff Kuan, Terraform’s business development lead,

and   Brian     Curran,     the   company’s      head      of    communications. 13   In

discussing the May 2021 depeg, Curran wrote to Kuan, “Do [Kwon]

said if Jump hadn’t stepped in we actually might’ve been fucked

lol.” ECF No. 76, Ex. 275. Kuan responded, “yeah i know they saved

our ass.” Id. In another set of texts between Curran and Kuan

discussing the depeg, on May 23, 2021, Kuan wrote to Curran, “Do

just randomly called me . . . [W]e’re speaking to jump about a

solution.” Id. at 23. Curran added, “Spoke with Do, we’re gonna

deploy     $250    million      from    stability     reserve       through    Jump   to

stabilize the peg.” Id. Curran followed up just over 20 minutes

later, “Jump has already started buying . . . May not need entire

$250 million.” Id. A day later, Terraform’s official Twitter

account posted, “Terra’s not going anywhere . . . $1 parity on UST




13Defendants object to such messages on hearsay grounds, but when
introduced by the SEC, they are admissible statements of a party-
opponent under Federal Rule of Evidence 801(d)(2)(A) and (D).


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already recovered.” Id. at 33. Those messages may prove difficult

for defendants to explain away, but a reasonable jury could find

that they and other circumstantial evidence do not add up to a

fraudulent scheme to deceive investors.

     In a sworn declaration, an SEC whistleblower (“CW-1”) states

that he worked at Jump in May 2021 and participated in a Zoom

meeting on or about May 23, 2021, in which Jump officers were

present. ECF No. 88 (“CW-1 Decl.”), ¶¶ 2–12. In that meeting, CW-

1 heard the executive tell Jump’s co-founder, “I spoke to Do and

he’s going to vest us.” Id. ¶ 12. Before that statement, Jump’s

co-founder had told CW-1 “that Terraform had made a deal with Jump

to promote the adoption of UST.” Id. ¶ 13. Later on or about May

23, 2021, CW-1 saw and heard Jump’s co-founder direct traders “to

adjust the parameters of the [Jump] trading models to control the

price, quantity, and timing of UST orders.” Id. ¶ 14. CW-1 saw

automated alerts about Jump’s UST trading. Id. CW-1 also heard

Jump’s co-founder say that “he was willing for Jump to risk about

$200 million to help restore the peg.” Id. ¶ 16. In the aftermath,

once UST’s price returned to $1.00 a few days later, CW-1 “heard

[Jump’s co-founder] provide general feedback to the Jump Crypto

trading team on the sale of UST, for example, advising them not to

cause another depeg by selling too quickly.” Id. ¶ 18. Jump’s co-

founder and the other implicated Jump executive refused to answer




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a single substantive question at their depositions, invoking their

Fifth Amendment rights. Defs.’ Response to SEC 56.1 ¶ 211.

     Defendants categorize nearly all of the above statements from

CW-1’s declaration as inadmissible hearsay, because they are all

statements of other Jump employees that the SEC seeks to offer for

their truth. While that argument is not without force, the Court

holds that the above statements are admissible under Federal Rule

of Evidence 804(b)(3) as statements against interest. 14 Statements

suggesting Jump’s, and those individuals’, participation in a

secret agreement to restore UST’s peg would tend to expose those

individuals     “to   civil   or    criminal    liability.”   Fed.   R.    Evid.

804(b)(3)(A). Indeed, the Jump executives invoked their Fifth

Amendment rights rather than answer any questions about those

statements at their depositions. And because they have done so,

they are unavailable declarants. See United States v. Miller, 954

F.3d 551, 561 (2d Cir. 2020) (“When a witness properly invokes his

Fifth     Amendment     right      against     self-incrimination,        he   is

unavailable for the purposes of Rule 804(a).”). Moreover, the Court

agrees with the SEC that “contemporaneous statements by Jump

executives concerning the capital Jump was willing to risk and

what Terraform was offering in return, together with changes in




14 The Court does not foreclose any other potential objections
defendants may raise to those statements, should they be offered
at trial.


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Jump’s trading practices, tend to show the state of mind of Jump

executives -- specifically, their intent, motive, and plan to

conspire with Terraform to restore UST’s peg.” SEC Reply at 4.

Such statements are thus likewise admissible under Federal Rule of

Evidence 803(3). 15

     The fact that such statements are admissible, however, does

not mean that they show beyond dispute that Terraform engaged Jump

in a scheme to maintain UST’s peg. The evidence remains subject to

a determination of CW-1’s credibility, which must be made by a

jury. Moreover, even if CW-1 may testify about what he heard, any

inferences about what those statements meant and what they suggest

about defendants’ intent are likewise in the ken of a jury.

     The SEC also submitted declarations from Keone Hon, another

former Jump employee, and Brandon Ackley, a current member of

“ownership entities within Jump Trading Group” and former employee

of Jump Operations LLC. ECF No. 90 (“Ackley Decl.”), at ¶ 1; see


15The SEC also contends that such statements are admissible non-
hearsay as statements by Terraform’s coconspirator “during and in
furtherance of the conspiracy” to inflate UST’s price through a
secret agreement. Fed. R. Evid. 801(d)(2)(E). To admit the
statements on that basis, the Court must determine by a
preponderance of the evidence “(a) that there was a conspiracy,
(b) that its members included the declarant and the party against
whom the statement is offered, and (c) that the statement was made
during the course of and in furtherance of the conspiracy.” United
States v. James, 712 F.3d 79, 105 (2d Cir. 2013). Although the
Court could make such a finding based on the record, it need not
do so at this pre-trial stage, given the other routes to admission
of the statements.



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ECF No. 91 (“Hon Decl.”). Both declarations state that Jump indeed

made trades of UST on May 23, 2021. For instance, Hon wrote that

“[s]ometime over the weekend of May 22, 2021, . . . [he] was

instructed to purchase UST for Jump Trading” even though he “was

not responsible for trading crypto assets” at that time. Hon Decl.

¶¶ 6, 8. But other parts of the declaration lack proper foundation

and are vague and speculative. E.g., id. ¶ 9 (“I believe, other

Jump Crypto team members were also purchasing UST.”). Moreover,

Hon’s declaration itself creates a genuine dispute about whether

the implicated Jump executive stated during the May 23 Zoom meeting

that Kwon “was going to vest” Jump. Hon joined that Zoom meeting

and makes no mention of such a statement. See id. ¶ 8. And, even

if admissible, the Ackley declaration also contains facts that a

reasonable jury could take to support defendants’ position -- that

for much of the day on May 23, Jump made no manual purchases of

UST and that Jump “primarily . . . traded UST through automated

strategies.” Ackley Decl. ¶¶ 12–14. In any event, the admissibility

of Ackley’s declaration is questionable because he concedes that

it “is not based on [his] personal knowledge.” Id. ¶ 2. The Court

will need to make any decision about the admissibility of Ackley’s

testimony at trial in the context of a live record and more

information about its basis.

     Even assuming arguendo that a jury credits all of the above

evidence in the SEC’s favor, an agreement with Jump to defend UST’s


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peg is only fraudulent if a reasonable investor would have been

materially misled. For evidence of such deception, the SEC points

to what it contends were defendants’ misstatements, which are

relevant to both the scheme liability and standalone misstatement

liability theories of fraud.

       Once more, the evidence is compelling but susceptible of

skepticism by a reasonable jury. In a public message posted on

Twitter on May 24, 2021, Terraform wrote that “Assets (LUNA) and

liabilities (UST) maintain parity by the Terra protocol acting as

a market maker, inflating the LUNA supply during UST contractions

and deflating the LUNA supply during UST expansions.” Defs.’

Response to SEC 56.1 ¶ 222. Other public Terraform Twitter messages

that day referred to the “algorithmic, calibrated adjustments of

economic parameters” as preferable to “stress-induced decision-

making of human agents in [a] time of market volatility.” Id.

Terraform described UST as the “lynchpin for the entire ecosystem”

and categorized the depeg as a “black swan” event that was “as

intense of a stress test in live conditions as can ever be

expected.” Id.

      Defendants    genuinely    dispute    the   significance    of     that

evidence. In their reading, “the lynchpin statement in its full

context is about the demand for UST not the reliability of UST,

and   is   used   when   comparing   UST   to   other   stablecoins.”    Id.

Similarly, defendants insist that “the black swan comment in


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context stated that the circumstances created as extreme of an

event and stress test based on enumerated stresses identified in

the cited evidence but not included for context [by the SEC],

including    drawn    down      price   in    LUNA,   UST   peg    deviation,    and

collateral effects across the ecosystem.” Id.

     The SEC’s most direct evidence of a misstatement to investors

was a comment by Kwon during a March 1, 2022 Twitter talk show. In

discussing the May 2021 depeg, Kwon stated that “it took a few

days for the slippage cost to naturally heal back to spot. So

that’s another feature of the market module where when the exchange

rate has deviated from the peg, the protocol automatically self-

heals the exchange rate back to whatever the spot price is being

quoted by the oracle. So that’s why it took several days for the

peg to recover.” Id. ¶ 224. But defendants contend “that when the

interview with Mr. Kwon is read in context, it is clear that Mr.

Kwon was discussing the speed at which the mint-burn mechanism --

which itself depends on human intervention by those who use the

mechanism -- ‘heals’ the exchange rate in times of high slippage

cost.” Id.

     Whether to credit the SEC’s interpretation or defendants’

interpretation       of   the    statements      at   issue,      or   whether   any

distinction between those interpretations would have been material




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to a reasonable investor, is a question for a jury, not for the

Court. 16

   2. Chai’s Use of the Terraform Blockchain

      There is also a genuine dispute about whether Chai indeed

used Terraform’s blockchain to process and settle transactions

with crypto assets in addition to traditional payment methods.

Defendants argue, with considerable force, that direct evidence of

how Chai’s data processing system works would require review of

Chai’s source code “or logs, data, or records from operation of

the Chai System.” Defs.’ Mem at 30–31. Such evidence is not

available   because    it    was   never   produced   by   Chai,   a   Korean

corporation, and is not accessible to defendants. Moreover, for

summary judgment purposes, the SEC does not rely on -- or even

mention -- the testimony of Dr. Mathew Edman, its computer science

expert who concluded based on a review of the source code of a

Terraform   server    that   the   blockchain   was   merely   replicating

purported Chai transactions that did not occur on the blockchain

itself.

      Defendants assert that Chai did use Terraform’s blockchain

and contend that the SEC’s circumstantial evidence does not show

otherwise. The evidence, which consists mainly of vague messages


16 Although the SEC has submitted a handful of investor declarations

to make its case about what a reasonable investor would have
understood, those cannot compel a jury to reach the same
conclusion.


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that a jury will need to interpret and weigh, is such that a

reasonable jury could find either way. In a May 9, 2019 message

with Terraform co-founder Daniel Shin, Kwon wrote, “i can just

create fake transactions that look real . . . which will generate

fees . . . and we can wind that down as chai grows.” ECF No. 76,

Ex. 245. Shin responded, “Wouldn’t people find out it’s fake?” Id.

Kwon replied, “All the power to those that can prove it[’]s fake

because I will try my best to make it indiscernable.” Id. Shin

followed up, “Well let’s test in small scale and see what happens.”

Id.

       Defendants genuinely dispute the meaning of those messages,

which    were    from    before    Chai   began    operations.   According    to

defendants, “[a]t that time, members of the Terraform network were

publicly discussing the launch of ‘Project Santa,’ an endeavor to

generate transactions to subsidize staking rewards for the purpose

of ensuring the security of the nascent Terra ecosystem.” Defs.’

Response to SEC 56.1 ¶ 187. A jury will need to decide whether

those messages, when read in context, are referring to planning

fake    Chai     transactions      on   the    Terraform   blockchain   or,   as

defendants’ argue, to an altogether different project.

       Other messages are similarly open to interpretation. In a

September       2020    internal    message,     Terraform   employee   Nicolas

Andreoulis asks another Terraform employee, Paul Kim, whether “we

have a list of all the wallets associated with Chai (merchants +


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customers).” Id. ¶ 195. Kim responds yes, and says that there are

“1297041” wallets “so far haha.” Id. According to the SEC, Kim

created an internal Terraform server, the LP Server, to merely

replicate    Chai    transactions.    The    SEC   contends    that    certain

messages between Terraform personnel, including Kim and Kwon, show

that Terraform was merely moving its own assets from one digital

wallet it controlled, to another digital wallet it controlled. In

a December 11, 2019 message, Kim wrote, “[d]ue to changes in the

LP server, we will make transactions.” Id. ¶ 196. Kwon responded

by telling Kim to “request KRT funding from CJ,” Terraform’s Chief

Financial Officer. 17 Id. Kwon asked Kim, “[a]fter 14 days, the

coins automatically return to the lp server, right?” Id. In an

April 21, 2020 chat with another Terraform engineer, Kim writes

that “it might be better to just put money back into the merchant

wallet in reverse.” Id. ¶ 197. Defendants dispute the significance

of that message, noting that “in context, Paul Kim is inquiring

about ‘a transaction from a user to a user’ that ‘looks strange,’

and if [a] particular address is ‘a user wallet’ because he does

not ‘fully understand’ the issue yet.” Id. Indeed, Kim continued,

“seems   like   a   case   of   negative    transactions,”    where   “if   the

merchant’s      balance    becomes   zero,     there’s   an    issue    where

cancellations become impossible.” Id.


17KRT is another Terraform crypto asset, a stablecoin that is tied
to the value of the Korean won.


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     In other sets of messages, the SEC makes much of the word

“mirror” used by different Terraform employees to describe the

relationship between the blockchain and Chai transactions. In an

August 20, 2020 message thread between Terraform employees and a

vendor, a Terraform employee asked about a series of blockchain

transactions in which “[i]t seems that every block or 2, the same

addresses pass funds between themselves.” Id. ¶ 199. Another

employee, who had been involved in developing the LP Server,

responded, “[w]e currently mirror all the actual transactions

between user, chai, and merchant accounts.” Id. Similarly, in an

October 9, 2020 internal chat, a Terraform engineer asked Paul

Kim, “can you quickly explain me what’s the role of lp-server?”

Id. ¶ 200. Kim responded that the “lp-server creates multisend

transactions   by   receiving   transaction   information    from   Chai,”

adding “[i]n short: it basically replicates chai transactions.”

Id. The engineer replied, “ahhh yes ok, this is mirroring chai

traffic on chain kinda,” and Kim said, “yes.” Id. In a February

28, 2022 internal message, another Terraform employee made a

reference to “Chai tx mirroring.” Id.

     Defendants genuinely dispute what Terraform employees meant

by “mirroring.” For instance, defendants contend that, when read

in context, the October 2020 discussion of mirroring “refers to

the fact that the LP Server was not executing transactions” during

an outage, but that when the server began functioning again, “48


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transfers were recorded on the blockchain.” Id. In another message

on October 9, 2020, Terraform engineer William Chen wrote to a

Terraform communications employee, “we don’t want to say stuff

about LP server too much . . . it breaks the perception that chai

depends on Terra . . . Basically chai doesn’t need Terra to work

. . . It’s what copies chai’s transactions from their data base to

create tx activity.” Id. ¶ 201. Defendants dispute the foundation

for and meaning of Chen’s message, because Chen testified at his

deposition that he did not work on the LP Server, did not review

any LP Server code, and was never told by anyone at Terraform to

make such a statement. Id.

     The    SEC   has   also   submitted   the   declaration   of   another

whistleblower (“CW-2”), who served as a Chai executive. According

to CW-2, each of Chai’s “three main business lines (Chai e-wallet,

Chai card, and I’mport) involved traditional payment processes of

bank accounts, credit cards, and debit cards -- all using fiat

currency.” ECF No. 78 (“CW-2 Decl.”), ¶ 34. CW-2 asserts that with

one exception -- the “limited use of KRT top-ups,” which allowed

Chai customers “to use Terraform crypto assets to fund their Chai

e-wallets” -- “Chai did not use the blockchain at all” and “did

not execute or settle transactions on Terraform’s blockchain.” Id.

¶¶ 37–38.

     But defendants argue that “CW-2 . . . was fired by Chai and

attempted to extort Daniel Shin and Do Kwon . . . while leaving


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the company.” Defs.’ Opp. at 1. Defendants also contend that CW-

2’s story has shifted over time. For instance, in a recorded

conversation with Chai’s head of engineering for the Chai e-wallet,

CW-2 stated that he did not “have any understanding of the Chai

side.” Id. at 22 (citing Defs.’ Response to SEC 56.1 ¶ 151). And

at his deposition, CW-2 stated that his knowledge was based on

statements from other Chai employees. CW-2 Dep. 197:7–12. In his

declaration, however, CW-2 stated that he personally “had access

to an administrative console through which [he] could see how

transactions using Chai’s e-wallet were settled.” CW-2 Decl. ¶ 32.

Even assuming all of CW-2’s testimony is admissible, a jury has

reason to question his credibility or view his testimony as lesser

in weight.

       Of course, the jury will not be asked to determine all the

elements of the fraud claims. In particular, the Court’s foregoing

rulings as to which of the defendants’ products are securities

will   remain   binding    on   the   jury,   and   the   jury   will   be   so

instructed. But because a reasonable jury could find for either

the SEC or for defendants on other elements of the fraud claims,

including scienter and materiality, the Court denies both cross-

motions for summary judgment on those claims. 18


18 In addition to primary liability, Count III of the Amended
Complaint alleges that Kwon is liable for the fraudulent
misstatements as a control person of Terraform under Section 20(a)
of the Exchange Act. To prevail on “a claim of control person


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     C. Due Process

     On September 29, 2023, the Court ordered that Kwon, who

remains incarcerated in Montenegro for an unrelated offense but

may be extradited to face criminal charges in the United States,

could not submit a declaration in connection with summary judgment

if the Montenegrin authorities did not make him available for a

deposition    by   the   close   of   discovery.     See    ECF   No.   61.   The

Montenegrin authorities did not so oblige, and Kwon thus did not

submit   a   declaration.   Kwon      now   argues   that   granting    summary

judgment for the SEC in the absence of such a declaration violates

his Fifth Amendment right to procedural due process. That argument

wins credit for color, but that is all.

     Kwon relies on the Supreme Court’s elaboration of procedural

due process in Mathews v. Eldridge, 424 U.S. 319 (1976). But that

very case demonstrates that Kwon’s procedural due process rights

have been satisfied here. “Due process is flexible and calls for



liability under § 20(a), a plaintiff must show (1) a primary
violation by the controlled person, (2) control of the primary
violator by the defendant, and (3) that the defendant was, in some
meaningful sense, a culpable participant in the controlled
person’s fraud.” Carpenters Pension Tr. Fund v. Barclays PLC, 750
F.3d 227, 236 (2d Cir. 2014). Because the Court denies summary
judgment on the claims for primary fraud liability, the Court
likewise denies summary judgment for either party on Count III.
There is no genuine dispute, however, that Kwon is a control person
of Terraform under the relevant standard, and the jury will be so
instructed. Many of the allegedly fraudulent statements are
attributed to him directly and it is undisputed that he was the
founder, CEO, and 92% owner of Terraform. Defs.’ Response to SEC
56.1 ¶ 17.


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such procedural protections as the particular situation demands.”

Id. at 334. Identifying “the specific dictates of due process

generally requires consideration of three distinct factors: First,

the private interest that will be affected by the official action;

second, the risk of an erroneous deprivation of such interest

through the procedures used, and the probative value, if any, of

additional or substitute procedural safeguards; and finally, the

Government’s interest, including the function involved and the

fiscal   and   administrative    burdens    that    the   additional    or

substitute procedural requirement would entail.” Id. at 335.

     Applying that three-part balancing test here, it is clear

that procedural due process does not require that Kwon be able to

submit a self-serving declaration with no opportunity for cross-

examination. While Kwon’s interest in saying his piece in his own

words is not insignificant, Kwon has been able to actively litigate

this case through counsel with whom he is in contact. The risk of

an erroneous deprivation of his property interests in this civil

suit, simply because he could not submit a declaration, is slight,

if it exists at all. The evidence in this case is voluminous --

and plenty of it consists of documents and public statements made

by Kwon himself. Kwon’s counsel has been able, throughout their

papers, to provide rebuttals and counter-explanations of that

documentary evidence, and they have done so capably. Indeed, Kwon’s

counsel has shown that despite the force of that evidence, genuine


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disputes of material fact preclude summary judgment against him or

Terraform on the fraud claims. Finally, the Government’s interest

firmly counsels against allowing as evidence a statement from a

defendant, who has otherwise been involved in the litigation,

without     the    ventilation         of    a   vigorous    cross-examination.

Accordingly, Kwon’s procedural due process rights pose no barrier

to the entry of summary judgment against him, which the Court has

granted on Count IV.

  IV.     Conclusion

     For the reasons stated above, the Court denies defendants’

motions to exclude the testimony of the SEC’s experts, Dr. Bruce

Mizrach and Dr. Matthew Edman; denies the SEC’s motion to exclude

the testimony of defense expert Dr. Terrence Hendershott; grants

the SEC’s motion to exclude the testimony of defense experts Mr.

Raj Unny and Dr. Christine Parlour; grants summary judgment for

the SEC on Count IV of the Amended Complaint, involving defendants’

unregistered offers and sales of LUNA and MIR in violation of

Sections 5(a) and (5c) of the Securities Act; grants summary

judgment    for   defendants      on    Counts    V   and   VI   of   the    Amended

Complaint,    involving     the    alleged       unregistered    offers      of   and

transactions      in   security-based        swaps;   and   denies    both    sides’

cross-motions for summary judgment on the remaining claims (Counts

I-III) of fraud. The Clerk is respectfully directed to close

document 71 on the docket of this case.


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